Case 1:Ol-cr-10031-.]DB Document 405 Filed 07/12/05 Page 1 of 7 PageiD 406

uNiTED sTATEs DisTRicT couRT ,
wEsTERN DisTRicT oF TENNEssEE F | L E D BV
EAsTERN DlvisioN

 

uNlTED sTATEs oF AMERicA JUL 1 2 2905
Thom$l M. GOU\d, Clbfk
"" 01 -10031-01 -T u. s. mm own

W. D. OF TN, Jacksof\

SHARN RAYNARD MiLAN
Robert C. Brooks CJA
Defense Attorney
P. O. Box 771558
Memphis, TN 38117

 

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on September 28, 2001.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Of'fense Count
Titie & section M le:l_ed NM_(§!
21 U.S.C. § 846 Conspiracy to Possess With intent 07/31!2001 1

to Distribute and Distribution of 50
Grams or more of a Mixture and
Substance Containing Cocaine
Base

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the lV|andatory
Victims Restitution Act of 1996

Count(s)21 5, 6 and 7 dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
end special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 12/30/1979 July 08, 2005
Deft’s U.S. i\/iarshai No.: 17704-076

This document entered on the docket sSe t in compliance
with Huie 55 and/or 32(b) FRCrP on fig 2002/d

 

Case 1:Ol-cr-10031-.]DB Document 405 Filed 07/12/05 Page 2 of 7 PageiD 407

Case No'. 1:01cr10031-01-T Defendant Name: Sharn Raynard Nli|an Page 2 of 6

Defendant’s l\/|ai|ing Address:
2047 Hwy. 45 By-Pass, Apt. 6A
Trenton, TN 38382

 

  

cHi uNiTED sTATEs DisTRicT JuDoE

July f f , 2005

Case 1:Ol-cr-10031-.]DB Document 405 Filed 07/12/05 Page 3 of 7 PageiD 408

Case No: 1:010r10031-01-T Defendant Name: Sharn Raynard iViiian Page 3 of 6

lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 144 Months as to Count 1 of the indictment

The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States lViarshal.

RETURN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment
UN|TED STATES MARSi-iAL
By:

 

Deputy U.S. Marshai

Case 1:Ol-cr-10031-.]DB Document 405 Filed 07/12/05 Page 4 of 7 PageiD 409

Case No: 1:01cr10031-01-T Defendant Name: Sharn Raynard Nii|an Page 4 of 6

SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 5 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised reiease, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

Case 1:Ol-cr-10031-.]DB Document 405 Filed 07/12/05 Page 5 of 7 PageiD 410

Case No: 1101cr10031-01-T Defendant Name: Sharn Raynard Mi|an Page 5 of 6

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to connrm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payrnents set
forth in the Criminal Nlonetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply With the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependencywhich mayinclude testing forthe detection ofsubstance use orabuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

CR|M|NAL MONETARY PENALTIES

The defendant shall pay thefol|owing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00

Case 1:01-cr-10031-.]DB Document 405 Filed 07/12/05 Page 6 of 7 PageiD 411

Case No: 1;01cr10031-01-T Defendant Name: Sharn Raynard |Vlilan Page 6 of 6

The Specia| Assessment shall be due immediateiy.
FlNE
No fine imposed.

REST|TUT|ON

No Restitution Was ordered.

   

UNITED `SETAT DISTRICT COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 405 in
case 1:0]-CR-10031 Was distributed by faX, mail, or direct printing on
July ]2, 2005 to the parties listed.

 

 

J ames W. Povvell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Robert C. Brooks

LAW OFFICE OF ROBERT C. BROOKS
P.O. Box 771558

Memphis7 TN 38177

Honorable J ames Todd
US DISTRICT COURT

